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 5
                              UNITED STATES DISTRICT COURT
 6
                            CENTRAL DISTRICT OF CALIFORNIA
 7
 8                                    SOUTHERN DIVISION

 9     JOHN C. EASTMAN                           Case No. 8:22-cv-00099-DOC-DFM
10                   Plaintiff,                  CONGRESSIONAL DEFENDANTS’
11
                                                 RESPONSE TO PLAINTIFF’S NOTICE
       vs.                                       OF SUPPLEMENTAL AUTHORITY
12
       BENNIE G. THOMPSON, et al.,
13
                     Defendants.
14
15
16
17
             Congressional Defendants respectfully respond to Plaintiff’s Notice of
18
19
     Supplemental Authority, ECF No. 190, regarding the decision rendered by the United

20 States District Court for the District of Columbia in United States v. Miller, No. 21-
21
     00119 (D.D.C. Mar. 7, 2022). Miller holds that 18 U.S.C. § 1512(c)(2) “requires that the
22
23 defendant have taken some action with respect to a document, record, or other object in
24 order to corruptly obstruct, impede or influence an official proceeding.” Slip Op. at 28.
25
             Congressional Defendants hereby inform the Court that every other decision in the
26
27 United States District Court for the District of Columbia arising out of the events of
28 January 6 that has considered this argument has held to the contrary. See United States v.

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                 PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
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 1 Grider, No. 21-0022, 2022 WL 392307, at *5-6 (D.D.C. Feb. 9, 2022); United States v.
 2 Nordean, No. 21-175, 2021 WL 6134595, at*6-8 (D.D.C. Dec. 28, 2021); United States
 3
     v. Montgomery, No. 21-46, 2021 WL 6134591, at *10-18 (D.D.C. Dec. 28, 2021); United
 4
 5 States v. Mostofsky, No. 21-138, 2021 WL 6049891, at *11 (D.D.C. Dec. 21, 2021);
 6 United States v. Caldwell, --- F. Supp. 3d ---, 2021 WL 6062718, at *11-20 (D.D.C. Dec.
 7
     20, 2021); United States v. Sandlin, --- F. Supp. 3d ---, 2021 WL 5865006, at *5-9
 8
 9 (D.D.C. Dec. 10, 2021).
10         In addition, the Ninth Circuit upheld a Section 1512(c)(2) conviction for conduct
11
     that did not involve “tak[ing] some action with respect to a document, record, or other
12
13 object,” Miller at 28, although the court of appeals’ decision did not address this
14 question. See United States v. Lonich, 23 F.4th 881, 904-07 (9th Cir. 2022) (upholding
15
     conviction for attempting to violate Section 1512(c)(2) by instructing witness to deceive
16
17 grand jury).
18
           In any event, Plaintiff has waived any such argument by not raising it in his briefs.
19
     Furthermore, Congressional Defendants have presented sufficient evidence to find a
20
21 violation of Section 1512(c)(2), even under the Miller construction. See Br. at 8-9, 41-
22
     42.
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 1
                                           Respectfully submitted,

 2                                         /s/ Douglas N. Letter
 3                                         DOUGLAS N. LETTER
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             PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
Case 8:22-cv-00099-DOC-DFM Document 201 Filed 03/10/22 Page 4 of 5 Page ID #:3320


                               CERTIFICATE OF SERVICE
 1
 2                     WASHINGTON, DISTRICT OF COLUMBIA
         I am employed in the aforesaid county, District of Columbia; I am over the age of
 3
   18 years and not a party to the within action; my business address is:
 4
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 7
          On March 10, 2022, I served the CONGRESSIONAL DEFENDANTS’
 8 RESPONSE       TO PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY on
   the interested parties in this action:
 9
10       Anthony T. Caso
         Constitutional Counsel Group
11       174 W Lincoln Ave #620
12       Anaheim, CA 92805-2901
         atcaso@ccg1776.com
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16       Washington, DC 20005
         charles@burnhamgorokhov.com
17
18       Attorneys for Plaintiff John C. Eastman
19
        (BY E-MAIL OR ELECTRONIC TRANSMISSION)
20        The document was served on the following via The United States District Court –
21        Central District’s CM/ECF electronic transfer system which generates a Notice
          of Electronic Filing upon the parties, the assigned judge, and any registered user
22        in the case:
23
         (FEDERAL) I declare under penalty of perjury that the foregoing is true and
24                 correct, and that I am employed at the office of a member of
                   the bar of this Court at whose direction the service was made.
25
26       Executed on March 10, 2022 here, at Bethesda, Maryland.
27
28
                                                   /s/ Douglas N. Letter

                 CONGRESSIONAL DEFENDANTS’ RESPONSE TO
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                CONGRESSIONAL DEFENDANTS’ RESPONSE TO
             PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
